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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Virginia


    UNITED STATES OF AMERICA,                          Case No. 1:20CR239-2
                                                       Honorable T.S. Ellis, III
         v.
                                                       Trial: March 29, 2022
    EL SHAFEE ELSHEIKH,
                    Defendant.

                     DEFENDANT’S RENEWED MOTION IN LIMINE
                    TO EXCLUDE STATEMENTS OF CO-DEFENDANT

         El Shafee Elsheikh, by counsel, moves this Court to exclude from evidence in this case

statements given by co-defendant Alexanda Kotey during various media interviews in 2018. In

support thereof, Mr. Elsheikh states as follows:

                                          DISCUSSION

         On October 1, 2021, the government moved in limine for a determination of whether the

several media interviews given by Alexanda Kotey were admissible at a trial against Elsheikh.

Dkt. 96; Dkt. 139. On October 22, 2021, Elsheikh filed an extensive opposition to the

government’s motion, and asked that this Court exclude these interviews from trial. Dkt. 129.

On January 4, 2022, this Court entered a ruling on the defendant’s Motion to Suppress (Dkt. 100,

101), but did not address the government’s request to admit at trial Kotey’s various media

interviews. See Dkt. 188. The government has since revised its request concerning Kotey’s

statements and has informed counsel that it seeks to introduce only three media interviews

conducted in 2018 during which both Elsheikh and Kotey were present.1




1
 These media clips were included in the government’s original motion and are detailed in
Attachment 1 of Dkt. 139, a table setting forth the media clips that the government intended to
offer at trial. The government has advised counsel that it now seeks only to admit interviews
                                                   1
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         The with limited exception, interviews laid out above are wholly irrelevant to any fact at

issue in the pending trial, and as such should be excluded.2 Federal Rule of Evidence (FRE) 401

defines relevant evidence as evidence that “has any tendency to make a fact more or less

probable than it would be without the evidence.” Fed. R. Evid. 401. Relevance also requires

that “the fact is of consequence in determining the action.” Fed. R. Evid. 401; See United States

v. Taylor, 900 F.2d 779, 782 (4th Cir. 1990). Under FRE 402, evidence that is not relevant shall

be excluded from a trial. See United States v. Smallwood, 306 F. Supp. 2d 582, 586 (E.D. Va.

2004) (quoting United States v. Leftenant, 341 F.3d 338, 346 (4th Cir. 2003)).

         Evidence is relevant when it is introduced to show the likelihood that a defendant

committed an element of a crime, or when a piece of evidence makes the commission of the

crime itself more likely. However, Kotey’s statements during the media interviews, as reflected

in the transcripts, do nothing of the sort. In government Attachment 3, Elsheikh states that the

ISIS videos showing western journalists being beheaded speak for themselves and that he has no

knowledge of the circumstances behind the creation of the video. Kotey’s singular contribution

to this interview was his statement at the very end of the media clip describing his perception of

war and collateral damage. Kotey’s perceptions of war and collateral damage are irrelevant to

Elsheikh’s guilt or innocence. In government Attachment 5, where Elsheikh is discussing

religious obligations, Kotey’s sole contribution is another statement at the very end of the clip

concerning the United States’ involvement in Syria. Finally, in government Attachment 7, Kotey




described as Attachments 3, 5 and 7. See Exhibit 1 (transcripts provided by the government of
the media interviews at issue here).
2
  Defendant concedes that Elsheikh’s admission that he was a cadet has relevance for the
government’s case.
                                                  2
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says nothing besides a one-line sentence about not wanting to use the military’s phonetic

alphabet.

          Simply put, not one of Kotey’s statements in above referenced media interviews is at all

relevant to a fact at issue in the present trial.

                                            CONCLUSION

          For the aforementioned reasons, and those laid-out in Defendant’s Response In

Opposition To Government’s Motion In Limine To Establish Admissibility Of Defendants’

Statements Pursuant To Federal Rule Of Evidence 104 (Dkt. 129), the government’s motion

seeking to introduce statements made by Alexander Kotey in various media interviews should be

denied.

                                                        Respectfully Submitted,

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                                                        By Counsel
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 1st day of March 2022, I filed the foregoing pleading through
the ECF system, which shall then send an electronic copy of this pleading to all parties in this
action.


                                                     ____/s/________________
                                                     Zachary A. Deubler, Esq.




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